Case 1:19-cr-00116-KMW Document 283 Filed 01/11/21 Page 1 of 1
Case 1:19-cr-00116-KMW Document 280 Filed 01/06/21 Page 1 of 1

 

 

{

 

 

;
USBC SDNY  :

DOCUMENT |

DOAR RIECK KALEY & MACK ELECTRONICALLY FILED |

|

ATTORNEYS AT LAW 1 DOC #: i
SAVE FILED: }ifas aM s

JOHN DOAR (1921-2014) ‘ ASTOR BUILDING :

WALTER MACK 7TH FLOOR

217 BROADWAY

OF COUNSEL
JOHN JACOB RIECK, JR. NEW YORK, N.Y. 10007-2911
Tou EY TELEPHONE: (212) 619-3730

DAVID RIVERA

MICHAEL MINNEFOR FACSIMILE: (2 12) 962-5037

e-mail: firm@doarlaw.com
website: wwwdoarlaw.com

January 6, 2021

VIA ECF Filing

Hon. Kimba M. Wood MEMO ENDORSED
United States District Judge

500 Pearl Street

New York, New York 10007

Re: United States v. Willis Lleras
Docket No. 19 Cr, 116 (K&MW)

Dear Judge Wood:

[ represent Willis Lleras in the above-referenced matter. Sentencing of Mr. Lleras
presently is scheduled for January 21, 2021. I write now with the consent of AUSA Michael
Krouse to request that sentencing be adjourned to March, 2021 on a date convenient for the
Court. The reasons for this request are the current restrictions on in-court proceedings due to the
Covid-19 virus and the defendant’s continuing health issues and risks.

Thank you for Your Honor’s consideration of this request.
ENEN CINE > aoljoucnd ts
Mach 3D, A08/, ats)! 00am.
pefenkant SUbmissio is Aucby
Marah Ie. boveanmenst cUubmisSiM 5 John F, Kaley
dus by . Marth 33>

c: AUSA Michael Krouse
USPO Simone Belgrave

(both via ECF and email) SO ORDERED: NWN. N.Y. (fu E (

Respectfully submitted,

/s/

culo vn. WUT _
———— KIMBA M, WOOD
US.DJ
